       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 1 of 40




Part 1—Preliminary Instructions
1. Duties of the Jury
2. Nature of Indictment; Presumption of Innocence
3. Preliminary Statement of Elements of Crime
4. Evidence; Objections; Rulings; Bench Conferences
5. Credibility of Witnesses
6. Conduct of the Jury
7. Notetaking
8. Outline of the Trial

Part 2—Instructions Concerning Certain Matters of Evidence
9. Stipulations
10. Judicial Notice
11. Impeachment by Prior Inconsistent Statement
12. Caution as to Cooperating Witness/Accomplice
13. Use of Audio Recordings and Transcripts
14. Statements of the Defendant
15. Definition of “Knowingly”
16. “Willful Blindness” As a Way of Satisfying “Knowingly”
17. Definition of “Willfully”

Part 3—Final Instructions: General Considerations
18. Duty of the Jury to Find Facts and Follow Law
19. Presumption of Innocence; Proof Beyond a Reasonable Doubt
20. What Is Evidence; Inferences
21. Kinds of Evidence: Direct and Circumstantial
22. Credibility of Witnesses
23. What Is Not Evidence
24. Various Ways of Proving Knowledge and Intent

Part 4- Elements of the Offenses
25. Conspiracy
26. Elements of the Crime of Conspiracy
27. First Element: Existence of a Conspiracy
28. Second Element: Membership in the Conspiracy
29. Third Element: Objects of Conspiracy
30. Fourth Element: Overt Act
31. Elements of Bulk Cash Smuggling
32. Aiding and Abetting (18 U.S.C. § 2)

Part 5 - Final Instructions: Deliberations and Verdict
33. Foreperson’s Role; Unanimity
34. Consideration of Evidence
35. Reaching Agreement
36. Return of Verdict Form
37. Communication with the Court
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 2 of 40




                      PART 1—PRELIMINARY INSTRUCTIONS

No. 1 - Duties of the Jury
Ladies and gentlemen: You now are the jury in this case, and I want to take a few
minutes to tell you something about your duties as jurors and to give you some
instructions. At the end of the trial I will give you more detailed instructions. Those
instructions will control your deliberations.

It will be your duty to decide from the evidence what the facts are. You, and you alone,
are the judges of the facts. You will hear the evidence, decide what the facts are, and then
apply those facts to the law I give to you. That is how you will reach your verdict. In
doing so you must follow that law whether you agree with it or not. The evidence will
consist of the testimony of witnesses, documents and other things received into evidence
as exhibits, and any facts on which the lawyers agree or which I may instruct you to
accept.

You should not take anything I may say or do during the trial as indicating what I think of
the believability or significance of the evidence or what your verdict should be.

Source: First Circuit Pattern Jury Instruction 1.01 (updated 10/5/2012)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 3 of 40




No. 2 - Nature of Indictment; Presumption of Innocence
This criminal case has been brought by the United States government. I will sometimes
refer to the government as the prosecution. The government is represented at this trial by
assistant United States attorneys, Neil Gallagher and Justin O’Connell. The defendant,
Jamie Melo, is represented by his lawyers, Gary Pelletier and John Zajac.

The Defendant has been charged by the government with violation of a federal law. He is
charged with bulk cash smuggling, structuring of monetary instruments, and conspiracy
to commit bulk cash smuggling and the structuring of monetary instruments. The charges
against the Defendant are contained in the indictment. The indictment is simply the
description of the charge against the Defendant; it is not evidence of anything. The
Defendant pleaded not guilty to the charge and denies committing the crime. He is
presumed innocent and may not be found guilty by you unless all of you unanimously
find that the government has proven hisguilt beyond a reasonable doubt.

Source: First Circuit Pattern Jury Instruction No. 1.02 (updated 7/27/2007)
        Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 4 of 40




No. 3 - Preliminary Statement of Elements of Crime
In order to help you follow the evidence, I will now give you a brief summary of the
elements of the crimes charged, each of which the government must prove beyond a
reasonable doubt to make its case:

Count One – Conspiracy against the United States

   (1) that the conspiracy charged in the indictment existed, and
   (2) that the Defendant joined the conspiracy knowingly and intentionally,
   (3) with the intent that the conspiracy succeed; and
   (4) that a conspirator committed an overt act in furtherance of the conspiracy.

Count Two – Bulk Cash Smuggling

   (1) that the Defendant knowingly concealed more than $10,000 in U.S. currency;
   (2) that the Defendant transported or attempted to transport that U.S. currency from a
       place within the United States to Portugal;
   (3) that the Defendant knew that he was required to file a currency transaction report;
       and
   (4) that the Defendant intended to evade filing such a report.

Count Three – Structuring to Avoid Reporting Requirements

   (1) that the Defendant structured or assisted in structuring the exportation of a
       monetary instrument; and

   (2) that the Defendant did so with the purpose of evading the more than $10,000
       reporting requirement.

You should understand, however, that what I have just given you is only a preliminary
outline. At the end of the trial I will give you a final instruction on these matters. If there
is any difference between what I just told you, and what I tell you in the instruction I give
you at the end of the trial, the instructions given at the end of the trial govern.

Source: First Circuit Pattern Jury Instruction No. 1.04 (Updated: 6/14/2002)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 5 of 40




No. 4- Evidence; Objections; Rulings; Bench Conferences
I have mentioned the word “evidence.” Evidence includes the testimony of witnesses,
documents and other things received as exhibits, and any facts that have been
stipulated—that is, formally agreed to by the parties.

There are rules of evidence that control what can be received into evidence. When a
lawyer asks a question or offers an exhibit into evidence, and a lawyer on the other side
thinks that it is not permitted by the rules of evidence, that lawyer may object. This
simply means that the lawyer is requesting that I make a decision on a particular rule of
evidence.

Then it may be necessary for me to talk with the lawyers out of the hearing of the jury,
either by having a bench conference here while the jury is present in the courtroom, or by
calling a recess. Please understand that while you are waiting, we are working. The
purpose of these conferences is to decide how certain evidence is to be treated under the
rules of evidence, and to avoid confusion and error. We will, of course, do what we can
to keep the number and length of these conferences to a minimum.

Certain things are not evidence. I will list those things for you now:

   (1) Statements, arguments, questions and comments by lawyers representing the
   parties in the case are not evidence.

   (2) Objections are not evidence. Lawyers have a duty to their client to object when
   they believe something is improper under the rules of evidence. You should not be
   influenced by the objection. If I sustain an objection, you must ignore the question or
   exhibit and must not try to guess what the answer might have been or the exhibit
   might have contained. If I overrule the objection, the evidence will be admitted, but
   do not give it special attention because of the objection.

   (3) Testimony that I strike from the record, or tell you to disregard, is not evidence
   and must not be considered.

   (4) Anything you see or hear about this case outside the courtroom is not evidence,
   unless I specifically tell you otherwise during the trial.

   Furthermore, a particular item of evidence is sometimes received for a limited
   purpose only. That is, it can be used by you only for a particular purpose, and not for
   any other purpose. I will tell you when that occurs and instruct you on the purposes
   for which the item can and cannot be used.

Finally, some of you may have heard the terms “direct evidence” and “circumstantial
evidence.” Direct evidence is testimony by a witness about what that witness personally
saw or heard or did. Circumstantial evidence is indirect evidence, that is, it is proof of
one or more facts from which one can find or infer another fact. You may consider both
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 6 of 40




direct and circumstantial evidence. The law permits you to give equal weight to both, but
it is for you to decide how much weight to give to any evidence.

Source: First Circuit Pattern Jury Instruction No. 1.05 (updated 6/14/2002)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 7 of 40




No. 5 - Credibility of Witnesses
In deciding what the facts are, you may have to decide what testimony you believe and
what testimony you do not believe. You may believe everything a witness says or only
part of it or none of it.

In deciding what to believe, you may consider a number of factors, including the
following: (1) the witness's ability to see or hear or know the things the witness testifies
to; (2) the quality of the witness's memory; (3) the witness's manner while testifying; (4)
whether the witness has an interest in the outcome of the case or any motive, bias or
prejudice; (5) whether the witness is contradicted by anything the witness said or wrote
before trial or by other evidence; and (6) how reasonable the witness's testimony is when
considered in the light of other evidence which you believe.

Source: First Circuit Pattern Jury Instruction No. 1.06 (updated 6/14/2002)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 8 of 40




No. 6 - Conduct of the Jury
To insure fairness, you as jurors must obey the following rules:

First, do not talk among yourselves about this case, or about anyone involved with it,
until the end of the case when you go to the jury room to decide on your verdict;

Second, do not talk with anyone else about this case, or about anyone who has anything
to do with it, until the trial has ended and you have been discharged as jurors. “Anyone
else” includes members of your family and your friends. You may tell them that you are a
juror, but do not tell them anything about the case until after you have been discharged by
me;

Third, do not let anyone talk to you about the case or about anyone who has anything to
do with it. If someone should try to talk to you, please report it to me immediately;

Fourth, during the trial do not talk with or speak to any of the parties, lawyers or
witnesses involved in this case—you should not even pass the time of day with any of
them. It is important not only that you do justice in this case, but that you also give the
appearance of doing justice. If a person from one side of the lawsuit sees you talking to a
person from the other side—even if it is simply to pass the time of day—an unwarranted
and unnecessary suspicion about your fairness might be aroused. If any lawyer, party or
witness does not speak to you when you pass in the hall, ride the elevator or the like, it is
because they are not supposed to talk or visit with you;

Fifth, do not read any news stories or articles about the case or about anyone involved
with it, listen to any radio or television reports about the case or about anyone involved
with it, and most importantly avoid looking at or reading any news stories or social media
postings about the case on the internet, phone, or any electronic device;

Sixth, do not do any research on the internet about anything in the case or consult blogs
or dictionaries or other reference materials, and do not make any investigation about the
case on your own;

Seventh, do not discuss the case or anyone involved with it, or your status as a juror on
any social media or look up any of the participants there.

Eighth, if you need to communicate with me simply give a signed note to the court
security officer to give to me; and

Ninth, do not make up your mind about what the verdict should be until after you have
gone to the jury room to decide the case and you and your fellow jurors have discussed
the evidence. Keep an open mind until then.

Source: First Circuit Pattern Jury Instruction No. 1.07 (updated 4/29/2013)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 9 of 40




No. 7 - Notetaking
I am going to permit you to take notes in this case, and the courtroom deputy has
distributed pencils and pads for your use. I want to give you a couple of warnings about
taking notes, however. First of all, do not allow your note-taking to distract you from
listening carefully to the testimony that is being presented. If you would prefer not to take
notes at all but simply to listen, please feel free to do so. Please remember also from
some of your grade-school experiences that not everything you write down is necessarily
what was said. Thus, when you return to the jury room to discuss the case, do not assume
simply because something appears in somebody's notes that it necessarily took place in
court. Instead, it is your collective memory that must control as you deliberate upon the
verdict. Please take your notes to the jury room at every recess. I will have the courtroom
deputy collect them at the end of each day and place them in the vault. They will then be
returned to you the next morning. When the case is over, your notes will be destroyed.
These steps are in line with my earlier instruction to you that it is important that you not
discuss the case with anyone or permit anyone to discuss it with you.

Source: First Circuit Pattern Jury Instruction No. 1.08 (updated 6/14/2002)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 10 of 40




No. 8 - Outline of the Trial
The first step in the trial will be the opening statements. The government in its opening
statement will tell you about the evidence that it intends to put before you, so that you
will have an idea of what the government's case is going to be.

Just as the indictment is not evidence, neither is the opening statement evidence. Its
purpose is only to help you understand what the evidence will be and what the
government will try to prove.
After the government's opening statement, the Defendant’s attorney may, if he chooses,
make an opening statement. At this point in the trial, no evidence has been offered by
either side.

Next the government will offer evidence that it says will support the charges against the
Defendant. The government’s evidence in this case will consist of the testimony of
witnesses, and may include documents and other exhibits. In a moment I will say more
about the nature of evidence.

After the government's evidence, the Defendant’s lawyer may make an opening statement
and present evidence in the Defendant]’s behalf, but he is not required to do so. I remind
you that the Defendant is presumed innocent, and the government must prove the guilt of
the Defendant beyond a reasonable doubt. The Defendant does not have to prove his
innocence.

After you have heard all the evidence on both sides, the government and the defense will
each be given time for their final arguments. I just told you that the opening statements
by the lawyers are not evidence. The same applies to the closing arguments. They are not
evidence either. In their closing arguments the lawyers for the government and the
Defendant will attempt to summarize and help you understand the evidence that was
presented.

The final part of the trial occurs when I instruct you about the rules of law that you are to
use in reaching your verdict. After hearing my instructions, you will leave the courtroom
together to make your decisions. Your deliberations will be secret. You will never have to
explain your verdict to anyone.

Source: First Circuit Pattern Jury Instruction No. 1.09 (updated 6/14/2002)
      Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 11 of 40




                     PART 2 - INSTRUCTIONS CONCERNING
                       CERTAIN MATTERS OF EVIDENCE

No. 9 - Stipulations
The evidence in this case includes facts to which the lawyers have agreed or stipulated. A
stipulation means simply that the government and the defendant accept the truth of a
particular proposition or fact. Since there is no disagreement, there is no need for
evidence apart from the stipulation. You must accept the stipulation as fact to be given
whatever weight you choose.

Source: First Circuit Pattern Jury Instruction No. 2.01 (updated 6/3/2009)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 12 of 40




No. 10 - Judicial Notice
I believe that the federal reporting requirements for transporting more than $10,000 in
U.S. currency out the United States can be so accurately and readily determined that it
cannot be reasonably disputed. You may, therefore, reasonably treat this fact as proven,
even though no evidence has been presented on this point.

As with any fact, however, the final decision whether or not to accept it is for you to
make. You are not required to agree with me.

Source: First Circuit Pattern Jury Instruction No. 2.02 (updated 6/14/2002)
      Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 13 of 40




No. 11 - Impeachment by Prior Inconsistent Statement (as necessary)
You have heard evidence that before testifying at this trial, [witness] made a statement
concerning the same subject matter as [his/her] testimony in this trial. You may consider
that earlier statement to help you decide how much of [witness’s] testimony to believe. If
you find that the prior statement was not consistent with [witness’s] testimony at this
trial, then you should decide whether that affects the believability of [witness’s]
testimony at this trial.

Source: First Circuit Pattern Jury Instruction No. 2.03 (updated 6/14/2002)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 14 of 40




No. 12 - Caution as to Cooperating Witness/Accomplice/Immunized Witness
You have heard the testimony of [name of witness]. [He/She]: (1) provided evidence
under agreements with the government; and/or (2) participated in the crime charged
against [defendant]; and/or (3) testified under a grant of immunity.

“Immunity” means that the witness’s testimony may not be used against [him/her] in any
subsequent criminal proceeding. However, if [he/she] testified untruthfully, [he/she]
could be prosecuted for perjury or making a false statement, even though [he/she] was
testifying under a grant of immunity.

Some people in this position are entirely truthful when testifying. Still, you should
consider the testimony of [name of witness] with particular caution. [He/She] may have
had reason to make up stories or exaggerate what others did because [he/she] wanted to
help [him/her]self.

You must determine whether the testimony of such a witness has been affected by any
interest in the outcome of this case, any prejudice for or against the defendant, or by any
of the benefits [he/she] has received from the government as a result of being immunized
from prosecution.]

Source: First Circuit Pattern Jury Instruction No. 2.08 (updated 4/1/2015)
      Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 15 of 40




No. 13 - Use of Audio Recordings and Transcripts
At this time you are going hear conversations that were recorded. This is proper evidence
for you to consider. In order to help you, I am going to allow you to have a transcript to
read along as the audio recording is played. The transcript is merely to help you
understand what is said on the recording. If you believe at any point that the transcript
says something different from what you hear on the recording, remember it is the
recording that is the evidence, not the transcript. Any time there is a variation between
the recording and the transcript, you must be guided solely by what you hear on the
recording and not by what you see in the transcript.

Source: First Circuit Pattern Jury Instruction No. 2.09 (updated 11/7/2012)
      Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 16 of 40




No. 14 - Statements by Defendant
You have heard evidence that the Defendant made statements in which the government
claims he admitted certain facts.

It is for you to decide (1) whether the Defendant made the statements, and (2) if so, how
much weight to give it. In making those decisions, you should consider all of the
evidence about the statements, including the circumstances under which the statement
may have been made and any facts or circumstances tending to corroborate or contradict
the version of events described in the statements.

Source: First Circuit Pattern Jury Instruction No. 2.11 (updated 5/18/2017)
      Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 17 of 40




No. 15 - Definition of “Knowingly”
The word “knowingly,” as that term has been used from time to time in these
instructions, means that the act was done voluntarily and intentionally and not because of
mistake or accident.

Source: First Circuit Pattern Jury Instruction No. 2.15 (updated 10/5/2012)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 18 of 40




No. 16 - “Willful Blindness” As a Way of Satisfying “Knowingly”
In deciding whether the Defendant acted knowingly, you may infer that the Defendant
had knowledge of a fact if you find that he deliberately closed his eyes to a fact that
otherwise would have been obvious to him. In order to infer knowledge, you must find
that two things have been established. First, that the Defendant was aware of a high
probability that the envelopes he accepted from Carlos Rafael on November 10, 2015
together contained more than $10,000 in U.S. currency. Second, that the Defendant
consciously and deliberately avoided learning of that fact. That is to say, the Defendant
willfully made himself blind to that fact. It is entirely up to you to determine whether he
deliberately closed his eyes to the fact and, if so, what inference, if any, should be drawn.
However, it is important to bear in mind that mere negligence, recklessness or mistake in
failing to learn the fact is not sufficient. There must be a deliberate effort to remain
ignorant of the fact.

Source: First Circuit Pattern Jury Instruction No. 2.16 (updated 12/15/2017)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 19 of 40




No. 17 - Definition of “Willfully”
To act “willfully” means to act voluntarily and intelligently and with the specific intent
that the underlying crime be committed—that is to say, with bad purpose, either to
disobey or disregard the law—not to act by ignorance, accident or mistake.

Source: First Circuit Pattern Jury Instruction No. 2.17 (updated 6/4/2014)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 20 of 40




       PART 3 - FINAL INSTRUCTIONS: GENERAL CONSIDERATIONS

No. 18 - Duty of the Jury to Find Facts and Follow Law
It is your duty to find the facts from all the evidence admitted in this case. To those facts
you must apply the law as I give it to you. The determination of the law is my duty as the
presiding judge in this court. It is your duty to apply the law exactly as I give it to you,
whether you agree with it or not. You must not be influenced by any personal likes or
dislikes, prejudices or sympathy. That means that you must decide the case solely on the
evidence before you and according to the law. You will recall that you took an oath
promising to do so at the beginning of the case.

In following my instructions, you must follow all of them and not single out some and
ignore others; they are all equally important. You must not read into these instructions, or
into anything I may have said or done, any suggestions by me as to what verdict you
should return—that is a matter entirely for you to decide.

Source: First Circuit Pattern Jury Instruction No. 3.01 (updated 6/14/2002)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 21 of 40




No. 19 - Presumption of Innocence; Proof Beyond a Reasonable Doubt
It is a cardinal principle of our system of justice that every person accused of a crime is
presumed to be innocent unless and until his or her guilt is established beyond a
reasonable doubt. The presumption is not a mere formality. It is a matter of the most
important substance.

The presumption of innocence alone may be sufficient to raise a reasonable doubt and to
require the acquittal of a defendant. The Defendant before you, Jaime Melo, has the
benefit of that presumption throughout the trial, and you are not to convict him of a
particular charge unless you are persuaded of his guilt of that charge beyond a reasonable
doubt.

The presumption of innocence until proven guilty means that the burden of proof is
always on the government to satisfy you that the Defendant is guilty of the crime with
which he is charged beyond a reasonable doubt. It is a heavy burden, but the law does not
require that the government prove guilt beyond all possible doubt; proof beyond a
reasonable doubt is sufficient to convict. This burden never shifts to the Defendant. It is
always the government’s burden to prove each of the elements of the crimes charged
beyond a reasonable doubt by the evidence and the reasonable inferences to be drawn
from that evidence. The Defendant has the right to rely upon the failure or inability of the
government to establish beyond a reasonable doubt any essential element of a crime
charged against him.

If, after fair and impartial consideration of all the evidence, you have a reasonable doubt
as to the Defendant’s guilt of a particular crime, it is your duty to find him not guilty of
that crime. On the other hand, if, after fair and impartial consideration of all the evidence,
you are satisfied beyond a reasonable doubt of the Defendant’s guilt of a particular crime,
you should find him guilty of that crime.

Source: First Circuit Pattern Jury Instruction No. 3.02 (updated 4/18/2016)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 22 of 40




No. 20 - What Is Evidence; Inferences
The evidence from which you are to decide what the facts are consists of sworn
testimony of witnesses, both on direct and cross-examination, regardless of who called
the witness; the exhibits that have been received into evidence; and any facts to which the
lawyers have agreed or stipulated. A stipulation means simply that the government and
the Defendant accept the truth of a particular proposition or fact. Since there is no
disagreement, there is no need for evidence apart from the stipulation. You must accept
the stipulation as fact to be given whatever weight you choose.

Although you may consider only the evidence presented in the case, you are not limited
in considering that evidence to the bald statements made by the witnesses or contained in
the documents. In other words, you are not limited solely to what you see and hear as the
witnesses testify. You are permitted to draw from facts that you find to have been proven
such reasonable inferences as you believe are justified in the light of common sense and
personal experience.

Source: First Circuit Pattern Jury Instruction No. 3.04 (updated 8/10/2007)
      Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 23 of 40




No. 21 - Credibility of Witnesses
Whether the government has sustained its burden of proof does not depend upon the
number of witnesses it has called or upon the number of exhibits it has offered, but
instead upon the nature and quality of the evidence presented. You do not have to accept
the testimony of any witness if you find the witness not credible. You must decide which
witnesses to believe and which facts are true. To do this, you must look at all the
evidence, drawing upon your common sense and personal experience.

You may want to take into consideration such factors as the witnesses’ conduct and
demeanor while testifying; their apparent fairness or any bias they may have displayed;
any interest you may discern that they may have in the outcome of the case; any prejudice
they may have shown; their opportunities for seeing and knowing the things about which
they have testified; the reasonableness or unreasonableness of the events that they have
related to you in their testimony; and any other facts or circumstances disclosed by the
evidence that tend to corroborate or contradict their versions of the events.

Source: First Circuit Pattern Jury Instruction No. 3.06 (updated 6/14/2002)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 24 of 40




No. 22 - What Is Not Evidence
Certain things are not evidence. I will list them for you:

   1. Arguments and statements by lawyers are not evidence. The lawyers are not
   witnesses. What they say in their opening statements, closing arguments and at other
   times is intended to help you interpret the evidence, but it is not evidence. If the facts
   as you remember them from the evidence differ from the way the lawyers have stated
   them, your memory of them controls.

   2. Questions and objections by lawyers are not evidence. Lawyers have a duty to their
   clients to object when they believe a question is improper under the rules of evidence.
   You should not be influenced by the objection or by my ruling on it.

   3. Anything that I have excluded from evidence or ordered stricken and instructed you
   to disregard is not evidence. You must not consider such items.

   4. Anything you may have seen or heard when the court was not in session is not
   evidence. You are to decide the case solely on the evidence received at trial.

   5. The indictment is not evidence. This case, like most criminal cases, began with an
   indictment.

You will have that indictment before you in the course of your deliberations in the jury
room. That indictment was returned by a grand jury, which heard only the government’s
side of the case. I caution you, as I have before, that the fact that the Defendant has had
an indictment filed against him is no evidence whatsoever of his guilt. The indictment is
simply an accusation. It is the means by which the allegations and charges of the
government are brought before this court. The indictment proves nothing.

Source: First Circuit Pattern Jury Instruction No. 3.08 (updated 7/27/2007)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 25 of 40




No. 23 - Various Ways of Proving Knowledge
Your decision about whether the defendant knew the essential purpose and aim of the
conspiracy involves a decision about his state of mind. It is difficult to prove directly the
operation of a defendant's state of mind, although in this case, you have heard evidence,
which you may or not find credible, of statements made by the defendants themselves.
But in determining the defendant’s state of mind, you may consider all the facts and
circumstances shown by the evidence, and then make reasonable inferences from the
evidence, to determine the defendant's state of mind.

Source: Adapted from L. Sand, Modern Federal Jury Instructions: Criminal, &56-01,
Instr. 56-59 (1993). Devitt & Blackmar, ' 28.05; United Statesv. Cintolo, 818 F.2d 980,
1003 (1st Cir. 1987) (mere association not sufficient).
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 26 of 40




                   PART 4 -ELEMENTS OF SPECIFIC CRIMES

No. 24 – Conspiracy
Count One of the indictment in this case charges the Defendant conspiracy to commit two
separate federal crimes―specifically, the crime of bulk cash smuggling and structuring to
avoid reporting requirements. It is against federal law to conspire with someone to
commit one or both of these crimes.

A conspiracy is an agreement to do something that the law forbids. This agreement may
be a tacit, mutual understanding. It must be knowingly made, or knowingly entered into,
by at least two people, who agree to violate the law by some joint or common plan or
course of action. The gist of the offense is this agreement to disobey or disregard the law
to achieve some unlawful purpose.

The law refers to the objects of a conspiracy. Here, there are two objects to the
conspiracy charged in Count One: bulk cash smuggling and structuring the export of
monetary instruments.

In order to prove Count One of the Indictment, the government does not have to prove
that any substantive crime was committed. It does not have to prove that anyone actually
committed the crime of bulk cash smuggling and/or structuring the export of monetary
instruments.

Congress made conspiring to commit these crimes a separate criminal offense. This is
because Congress believed that such collective criminal activity poses a greater threat to
the public's safety and welfare than individual conduct, and increases the likelihood that
crimes will be committed.

Source: Adapted from 1 L.B. Sand, Modern Federal Jury Instructions: Criminal, &19.01
(1993). See also United States v. Ledee, 772 F.3d 21, 33 (1st Cir. 2014) (“The
government, however, need not produce evidence of an explicit agreement to ground a
conspiracy conviction. Rather, an agreement to join a conspiracy may be express or tacit
and may be proved by direct or circumstantial evidence”) (internal citations and
quotations omitted); United States v. Piper, 35 F.3d 611, 615 (1st Cir. 1994) (defining
"intent to commit" object of conspiracy as "an intent to effectuate the commission of the
substantive offense. A defendant need not have had the intent to personally commit the
substantive crime.").
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 27 of 40




No. 25 – Elements of the Crime of Conspiracy
In order to satisfy its burden of proof on the conspiracy charges in Count One of the
indictment, the government must prove three elements beyond a reasonable doubt:

       One: that the conspiracy charged in the Indictment existed; and
       Two: that the Defendant knowingly and intentionally joined the conspiracy;
       Three: that the Defendant intended that an object of the conspiracy be
       accomplished; and
       Four: that one of the conspirators committed an overt act during the period of the
       conspiracy in an effort to further the purpose of the conspiracy.

Put another way, the government must prove (1) that the conspiracy existed, and (2) that
the Defendant joined the conspiracy knowingly and intentionally, (3) with the intent that
the conspiracy succeed; and (4) that conspirator committed an overt act in furtherance of
the conspiracy.

Source: See 1 L.B. Sand, Modern Federal Jury Instructions: Criminal, &19.01 (1993).
See also United States v. Ngige, 780 F.3d 497, 503 (1st Cir. 2015) (“To make out a case
of conspiracy under 18 U.S.C. § 371, the government must show the existence of an
agreement with an unlawful object [ ], the defendant's knowing participation in the
conspiracy, and an overt act in furtherance of that agreement”).
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 28 of 40




No. 26 – First Element: Existence of a Conspiracy
To prove that a conspiracy existed, the government must prove beyond a reasonable
doubt that two or more persons entered into the unlawful agreement charged in the
Indictment.

A conspiracy is an agreement, spoken or unspoken. A conspiracy does not have to be a
formal agreement or plan in which everyone sat down together and worked out all the
details. But the government must prove beyond a reasonable doubt that at least two
people -- known as co-conspirators -- shared a general understanding about the crime that
they wanted to commit.

The government must prove beyond a reasonable doubt that the Defendant knew the
essential purpose and aim of the conspiracy, that is, the unlawful object of the conspiracy,
and the defendant willingly joined the conspiracy with the intent that the object be
achieved. That is, the evidence must show beyond a reasonable doubt that the defendant,
through some means, came to a mutual understanding with at least one other conspirator,
knowingly and intentionally, to accomplish their common unlawful purpose.

In order for you to find that the charged conspiracy existed, you need not find that the
alleged members of the conspiracy all met together and entered into any express or
formal agreement, or even that all of the members of the conspiracy even knew each
other.

Similarly, you need not find that the alleged conspirators stated, in words or writing, what
their scheme was, or what their objects were. You need not find that the conspirators
shared with each other every precise detail of the scheme, or the means by which the
conspiracy's object were going to be accomplished.

It is sufficient if an agreement is shown by conduct, by a wink, a nod, a handshake, or by
a silent understanding to share a common purpose to violate the law.

A criminal conspiracy is, by its very nature, secret in its origin and in its execution.
Therefore, what the evidence in the case must show beyond a reasonable doubt, in order
to establish proof that a conspiracy existed, is that the defendant and at least one other
member of the conspiracy, in some way or manner, positively or tacitly, came to a mutual
understanding to try to accomplish a common and unlawful plan. In essence, there must
have been an agreement.

Since a criminal conspiracy is by its very nature often secret, neither the existence of the
common agreement or scheme, nor the fact of the defendant's participation in it, must be
proved by direct evidence. Both facts may be inferred from circumstantial evidence. The
common purpose or plan may be inferred from the course of dealing between the
defendant and at least one other alleged conspirator.
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 29 of 40




In determining whether a conspiratorial agreement existed, you may consider the actions
and statements of all of those you find to be participants in the conspiracy as proof that a
common design existed on the part of those people to act together for the accomplishment
of an unlawful purpose.

But in determining whether the Defendant conspired with one or more other conspirators
as charged in Counts One, you need not find that the defendant did so during the whole
periods of time stated in the Indictment, or even that the charged conspiracies existed for
those whole periods of time. The Defendant need not have been a member of either or
both conspiracies from beginning to end. What must be proven beyond a reasonable
doubt is that the conspiracy existed for at least some portion of the approximate time
periods charged in the Indictment, and that at some point the Defendant joined the
conspiracy with the intent that the conspiracy succeed.

Source: Adapted from 1 L. Sand, Modern Federal Jury Instructions: Criminal, &19-4
(1993); see also Ocasio v. United States, 136 S. Ct. 1423, 1429 (2016) (“Although
conspirators must pursue the same criminal objective, a conspirator need not agree to
commit or facilitate each and every part of the substantive offense. A defendant must
merely reach an agreement with the specific intent that the underlying crime be
committed by some member of the conspiracy.”) (internal citations and quotations
omitted); United States v. Sepulveda, 15 F.3d at 1173 ("There are no particular
formalities that attend this showing: the agreement may be express or tacit and may be
proved by direct or circumstantial evidence."); United States v. Pallindo, 203 F.Supp. 35,
37 (D.Mass.1962) ("An agreement may be shown by conduct, by a wink or a nod, by a
silent understanding to share a purpose to violate the law"); United States v. O'Campo,
973 F.2d 1015, 1019 (1st Cir. 1992) (no need for express agreement; circumstantial
evidence sufficient); United States v. Rivera-Santiago, 872 F.2d 1073, 1079 (1st. Cir.
1989)("Because of the secretive nature of the crime, it is recognized that the agreement
may be express or tacit. The agreement, whether tacit or express, may be proven by
circumstantial as well as express evidence. A common purpose and plan may be inferred
from a development and collocation of circumstances").
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 30 of 40




No. 27 – Second Element: Membership in the Conspiracy
The second element the government must prove beyond a reasonable doubt to establish the
offense of conspiracy is that the Defendant knowingly and intentionally became a member
of the conspiracy with the intent to further one or more of its unlawful purposes.

A person acts "knowingly" and "intentionally" if the person acts voluntarily, and not
because of ignorance, mistake, accident or carelessness.

Proof that a Defendant simply knew about a conspiracy, or was present at times or
associated with members of the group of conspirators is not enough, even if the defendant
approved of what was happening or did not object to it. Merely associating with others
and discussing common goals, mere similarity of conduct between or among such persons,
merely being present at the place where a crime takes place or is discussed, or even merely
knowing about criminal conduct, does not, by itself, make someone a member of a
conspiracy. Similarly, just because a defendant may have done something that happened,
coincidentally, to help a conspiracy does not make the defendant a conspirator.

Knowing and intentional participation in a criminal conspiracy, even in limited ways, and
even on one single occasion, is sufficient for a conviction.

It is not necessary that the government prove that each member of a conspiracy knew the
names, identities, or even the number of all of other conspirators. Nor does the government
need to prove that each member of the conspiracy knew all of the details of the conspiracy.

The Government must prove, however, that the Defendant knew the essential purpose and
aim of the conspiracy and willingly participated in the conspiracy with the intent that some
conspirator accomplish that unlawful purpose. Under the law, a Defendant who knowingly
and intentionally joins and participates in a conspiracy is criminally liable for the
foreseeable acts of the other conspirators in furtherance of the conspiracy.

Source: Adapted from 1 L.B. Sand, Modern Federal Jury Instructions: Criminal, &3A-1
(1993); See also United States v. Piper, 35 F.3d 611, 615 (1st Cir. 1994) citing United
States v. Moosey, 735 F.2d 633, 635-36 (1st Cir. 1984) (upholding conviction for
conspiracy even though defendant personally had not intended to, and did not, participate
in the underlying substantive offense of interstate trafficking); Sepulveda, 15 F.3d at 1173
("in a criminal conspiracy, culpability may be constant though responsibilities are divided;
the government does not need to show as a precursor to a finding of guilt that a given
defendant took part in all aspects of the conspiracy.")
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 31 of 40




No. 28 – Third Element: Objects of Conspiracy
The third element the government must prove beyond a reasonable doubt to establish the
offense of conspiracy is that the Defendant intended that an object of the conspiracy be
accomplished. Here, there are two objects of the conspiracy: bulk cash smuggling and
structuring.

In order to the find the Defendant guilty you must unanimously find beyond a reasonable
doubt that the Defendant agreed to commit at least one of the objects of the conspiracy.
That is, you must unanimously find beyond a reasonable doubt that the Defendant agreed
that either the crime of bulk cash smuggling or structuring be committed. You may, but are
not required to, find that the Defendant agreed to commit both objects of the conspiracy,
but you must be unanimously as to at least one of the objects.

Although you must find beyond a reasonable doubt the Defendant specifically intended
that at least one of the two objects be committed by some members of the conspiracy, you
are not required to find that the Defendant agreed to commit or facilitate each and every
part of the substantive offense. Instead, the Defendant must merely reach an agreement
with the specific intent that the underlying crime be committed by some member of the
conspiracy.

Source: Ocasio v. United States, 136 S. Ct. 1423, 1429 (2016) (“Although conspirators
must pursue the same criminal objective, a conspirator need not agree to commit or
facilitate each and every part of the substantive offense. A defendant must merely reach an
agreement with the specific intent that the underlying crime be committed by some member
of the conspiracy.”) (internal citations and quotations omitted); United States v. Royal, 100
F.3d 1019, 1029 (1st Cir. 1996) (“To prove voluntary participation, the government must
prove that the defendant had an intent to agree and an intent to effectuate the object of the
conspiracy”)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 32 of 40




No. 29 – Fourth Element: Overt Act
The fourth and final element the government must prove beyond a reasonable doubt to
establish the offense of conspiracy is that one of the conspirators committed an overt act
during the period of the conspiracy in an effort to further the purpose of the conspiracy. An
overt act is any act knowingly committed by one or more of the conspirators in an effort to
accomplish some purpose of the conspiracy. Only one overt act has to be proven. The
government is not required to prove that the Defendant personally committed or knew
about the overt act. It is sufficient if one conspirator committed one overt act at some time
during the period of the conspiracy.

Source: First Circuit Pattern Jury Instruction 4.18.371(1) (updated 6/26/2017)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 33 of 40




No. 30 – Elements of Bulk Cash Smuggling (31 U.S.C. § 5332(a))
The Defendant is charged in Count Two with bulk cash smuggling in violation of Section
5332(a) of Title 31 of the United States Code. In order for the defendant to be found
guilty of that charge, the government must prove each of the following elements beyond
a reasonable doubt:

       One: that the Defendant knowingly concealed more than $10,000 in U.S. currency
       either on his person, in any conveyance, article of luggage, merchandise or other
       container;

       Two: that the Defendant transported or attempted to transport that U.S. currency
       from a place within the United States to a place outside the United States, that is
       Portugal;

       Three: that the Defendant knew that a report of the amount concealed was required
       to be filed with the Secretary of Treasury; and

       Four: that the Defendant intended to evade filing such a report.

The intent to evade the reporting requirement can arise at any time prior to (and
including) the moment of transportation. It is not necessary that the Defendant have such
intent at the time the concealment occurred.

I further instruction you that federal law requires individuals transporting monetary
instruments of more than $10,000 at one time from the United States to a place outside the
United States to file a report with the Secretary of the Treasury called a Currency and
Monetary Instrument Report.

Source: Model Jury Instructions for the Ninth Circuit 9.45; United States v. Tatoyan, 474
F.3d 1174, 1180 (9th Cir.2007); 31 U.S.C. § 5332(a); 31 U.S.C. § 5316.
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 34 of 40




No. 31 – Elements of Structuring the Export of Monetary Instruments (18 U.S.C.
§ 5324(c)(3))
The Defendant is charged in Count Three with Structuring to the Export of Monetary
Instruments for the purpose of evading a currency reporting requirement. In order for the
defendant to be found guilty of that charge, the government must prove each of the
following elements beyond a reasonable doubt:

       One: that the Defendant structured or assisted in structuring the exportation of a
       monetary instrument; and

       Two the Defendant did so with the purpose of evading the more than $10,000
       reporting requirement.

Structuring occurs when an individual alters his transaction in such a way in order to
avoid a reporting requirement. As I instructed you earlier, under Title 31, United States
Code, Section 5316, individuals transporting monetary instruments of more than $10,000 at
one time from the United States to a place outside the United States are required to file a
report with the Secretary of the Treasury called a Currency and Monetary Instrument
Report. While the government may prove the Defendant’s intent and knowledge through
circumstantial as well as direct evidence, the Government must prove beyond a
reasonable doubt that the Defendant knew of the reporting requirements. You may also
find the requisite knowledge on defendant's part by drawing reasonable inferences from
the evidence of defendant's conduct.

Source: First Circuit Pattern Jury Instruction No. 4.31.5322 (updated 10/5/2012); 31
U.S.C. §§ 5324(c)(3) and 5316; United States v. Davenport, 929 F.2d 1169 (7th
Cir.1991) (Structuring occurs when an individual alters his transaction in such a way in
order to avoid the reporting requirement); United States v. Del Toro-Barboza, 673 F.3d
1136, 1145 (9th Cir. 2012) (“The facts here are circumstantial, but a case such as this
rarely has direct evidence”).
      Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 35 of 40




No. 32 – Aiding and Abetting (18 U.S.C. § 2)

In addition to alleging that the Defendant committed the offenses charged in Count Two
(Bulk Cash Smuggling) and Count Three (Structuring the Export of Monetary
Instruments), the indictment also alleges that the Defendant aided and abetted these
offense. You may find the defendant guilty if you find, beyond a reasonable doubt, that
the Defendant either committed the offense or if he aided and abetted the offense. To “aid
and abet” means intentionally to help someone else commit the charged crime.

To establish aiding and abetting, the government must prove beyond a reasonable doubt:

      One: that the substantive offense (Bulk Cash Smuggling or Structuring the Export
      of Monetary Instruments) was actually committed by someone;

      Two: that the Defendant took an affirmative act to help or cause the substantive
      offense; and

      Three: that the Defendant intended to help or cause the commission of the
      substantive offense.

The second element, the “affirmative act” element, can be satisfied without proof that the
Defendant participated in each and every element of the substantive offense. It is enough
if the Defendant assisted in the commission of the substantive offense or caused the
substantive offense to be committed.

The third element, the “intent” element, is satisfied if the Defendant had advance
knowledge of the facts that make the principal’s conduct criminal. “Advance knowledge”
means knowledge at a time the defendant can opt to walk away. A general suspicion that
an unlawful act may occur or that something criminal is happening is not enough. Mere
presence at the scene of the substantive offense and knowledge that the substantive
offense is being committed are also not sufficient to constitute aiding and abetting. But
you may consider these things among other factors in determining whether the
government has met its burden.

Source: First Circuit Pattern Jury Instruction 4.18.02(a) (Updated 6/27/2016)
      Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 36 of 40



                Part 5 - Final Instructions: Deliberations and Verdict

No. 33 - Foreperson’s Role; Unanimity
I come now to the last part of the instructions, the rules for your deliberations.
When you retire you will discuss the case with the other jurors to reach agreement if you
can do so. You shall permit your foreperson to preside over your deliberations, and your
foreperson will speak for you here in court. Your verdict must be unanimous. 281

Source: First Circuit Pattern Jury Instruction 6.01 (Updated 6/14/2002)
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 37 of 40



No. 34 - Consideration of Evidence

Your verdict must be based solely on the evidence and on the law as I have given it to
you in these instructions. However, nothing that I have said or done is intended to suggest
what your verdict should be—that is entirely for you to decide.

Source: First Circuit Pattern Jury Instruction 6.02 (Updated 4/29/2013)




                                            37
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 38 of 40



No. 35 - Reaching Agreement

Each of you must decide the case for yourself, but you should do so only after
considering all the evidence, discussing it fully with the other jurors, and listening to the
views of the other jurors.

Do not be afraid to change your opinion if you think you are wrong. But do not come to a
decision simply because other jurors think it is right.

This case has taken time and effort to prepare and try. There is no reason to think it could
be better tried or that another jury is better qualified to decide it. It is important therefore
that you reach a verdict if you can do so conscientiously. If it looks at some point as if
you may have difficulty in reaching a unanimous verdict, and if the greater number of
you are agreed on a verdict, the jurors in both the majority and the minority should
reexamine their positions to see whether they have given careful consideration and
sufficient weight to the evidence that has favorably impressed the jurors who disagree
with them. You should not hesitate to reconsider your views from time to time and to
change them if you are persuaded that this is appropriate.

It is important that you attempt to return a verdict, but, of course, only if each of you can
do so after having made your own conscientious determination. Do not surrender an
honest conviction as to the weight and effect of the evidence simply to reach a verdict.

Source: First Circuit Jury Instruction No. 6.03 (Updated 6/14/2002)




                                               38
       Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 39 of 40



No. 36 - Return of Verdict Form

I want to read to you now what is called the verdict form. This is simply the written
notice of the decision you will reach in this case.

[Read form.]

After you have reached unanimous agreement on a verdict, your foreperson will fill in the
form that has been given to you, sign and date it, and advise the jury officer outside your
door that you are ready to return to the courtroom.
After you return to the courtroom, your foreperson will deliver the completed verdict
form as directed in open court.

Source: First Circuit Pattern Jury Instruction 6.04 (Updated 10/23/2006)




                                            39
      Case 1:17-cr-10329-DJC Document 58-1 Filed 06/22/18 Page 40 of 40



No. 37 - Communication with the Court

If it becomes necessary during your deliberations to communicate with me, you may send
a note through the jury officer signed by your foreperson or by one or more members of
the jury. No member of the jury should ever attempt to communicate with me on
anything concerning the case except by a signed writing, and I will communicate with
any member of the jury on anything concerning the case only in writing, or orally here in
open court. If you send out a question, I will consult with the parties as promptly as
possible before answering it, which may take some time. You may continue with your
deliberations while waiting for the answer to any question. Remember that you are not to
tell anyone—including me—how the jury stands, numerically or otherwise, until after
you have reached a unanimous verdict or have been discharged.

Source: First Circuit Pattern Jury Instructions 6.05 (Updated 10/5/2012)




                                           40
